           Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 1 of 26



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ELIZABETH BARBER,
c/o National Student Legal Defense
Network
1015 15th Street N.W., Suite 600,
Washington D.C. 20005,

CRAIGORY LEE A. JENKINS,
c/o National Student Legal Defense
Network
1015 15th Street N.W., Suite 600,
Washington D.C. 20005,                               Case No. 20-cv-1137

on behalf of themselves and all others
   similarly situated,

                Plaintiffs,

       vs.

ELISABETH DEVOS, in her official
   capacity as United States Secretary
   of Education,
400 Maryland Avenue S.W.
Washington, D.C. 20202, &

UNITED STATES DEPARTMENT OF
EDUCATION,
400 Maryland Avenue S.W.
Washington, D.C. 20202,

                Defendants


      AMENDED CLASS ACTION COMPLAINT FOR DECLARATORY AND
                     INJUNCTIVE RELIEF

      1.       With each passing day, countless federal student loan borrowers are

suffering needless harm because, in the midst of the COVID-19 pandemic, they
           Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 2 of 26



remain subject to unlawful debt collection by Defendants United States Department

of Education and Secretary of Education Elisabeth DeVos (collectively, “the

Department”).

      2.       Decades ago, Congress vested the Department with the extraordinary

authority to garnish the wages of individuals who default on their federally issued

or guaranteed student loans without a court order.

      3.       On March 25, 2020, during a period of rapid response to the spread of

COVID-19, the Department announced it would use its administrative authority to

stop involuntary collection activity, including wage garnishments, for certain

borrowers of federal student loans. Further, it announced that it would issue

refunds of amounts collected since March 13, 2020, the date President Donald

Trump declared a national emergency.

      4.       On March 27, 2020, Congress passed and President Trump signed into

law the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”). See

Pub. L. No. 116–136, ___ Stat. ___ (2020). In doing so, Congress and the President

clearly and unambiguously acknowledged that administrative wage garnishment is

unsustainable for student loan borrowers during the present crisis. As such, the law

directs the Secretary to stop garnishing wages of certain federal student loan

borrowers through September 30, 2020.

      5.       Also on March 27, 2020, Secretary DeVos announced that the

Department had “stopped federal wage garnishments altogether for students and

families in default.”



                                           2
           Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 3 of 26



      6.       On or around April 9, 2020, the Department sent a notice to student

loan borrowers informing them that all collection activity, including wage

garnishments, was stopped for the period of March 13, 2020, through September 30,

2020. The notice also informed borrowers that “[t]here’s no action you need to take

at this time.”

      7.       Despite the Department’s announcement that it had stopped wage

garnishments, and despite the Department’s notice to student loan borrowers that

it had done the same, the Department, more than a month into the six-month

emergency suspension period, continues to seize wages from distressed federal

student loan borrowers.

      8.       More than a month into the six-month suspension period, the

Department has not refunded the wages taken from Named Plaintiffs and the class

in violation of the CARES Act.

      9.       Named Plaintiff Craigory Lee A. Jenkins is one such borrower. She is a

sales specialist at Lowe’s Home Centers in Pinellas Park, Florida. She has

continued to work during the COVID-19 pandemic, as her employer has remained

open during the crisis. She has faced additional financial hardships in recent weeks

as a direct result of the pandemic. The CARES Act was supposed to relieve her

hardships by stopping the garnishment of her wages, but they have continued

unabated, including on her paycheck dated May 8, 2020.

      10.      Named Plaintiff Elizabeth Barber is another such borrower. She is a

home health aide who has continued to serve patients in need throughout the



                                           3
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 4 of 26



pandemic. However, her hours have been reduced by approximately ten to fifteen

hours per week as a result of the pandemic, increasing her financial strain. Her

wages were garnished throughout the months of March and April, despite the

prohibitions in the CARES Act. Her last paycheck, on May 1, was not garnished.

The Department has not, however, returned any of the money that was seized from

her paycheck, depriving her of the benefit of the emergency relief the CARES Act is

supposed to provide.

      11.    The CARES Act’s reprieve from wage garnishment was supposed to

help Named Plaintiffs and the class—immediately. Named Plaintiffs bring this

lawsuit on behalf of themselves and other similarly situated borrowers to force the

Department to comply immediately with the wage garnishment suspension

directive of the CARES Act, as Congress required, and to promptly refund the

wages illegally seized.

                          JURISDICTION AND VENUE

      12.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this action arises under federal law. The Court also has

the authority to order a remedy pursuant to the Declaratory Judgment Act, 28

U.S.C. §§ 2201–2202.

      13.    Because this is an action against an officer and agency of the United

States, venue is proper in this district pursuant to 28 U.S.C. § 1391(e). Venue is also

proper in this district because Secretary DeVos performs her official duties here.

Finally, many of the events giving rise to this action took place here.



                                           4
         Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 5 of 26



                                      PARTIES

      14.    Named Plaintiff Elizabeth Barber is a natural person who resides, and

at all relevant times has resided, in Penfield, NY. She is a home health aide and has

continued to provide patient care throughout the COVID-19 crisis. She is a federal

student loan borrower with federally held loans subject to the CARES Act. Since the

CARES Act became law on March 27, 2020, the Department has garnished her

wages multiple times and has not provided her with a refund of the payments

illegally garnished.

      15.    Named Plaintiff Craigory Lee A. Jenkins is a natural person who

resides, and at all relevant times has resided, in Seminole, FL. She works in sales

at Lowe’s Home Centers and has continued to work throughout the COVID-19

crisis. She is a federal student loan borrower with federally-held loans subject to the

CARES Act. Since the CARES Act became law on March 27, 2020, the Department

has garnished her wages multiple times, including from the paycheck she receives

this week, and has not provided her with a refund of the payments illegally

garnished.

      16.    Defendant Elisabeth DeVos is sued in her official capacity as the

Secretary of Education for the United States Department of Education.

      17.    Defendant United States Department of Education is a department of

the executive branch of the United States government headquartered in

Washington, D.C. and an agency of the United States within the meaning of 5

U.S.C. § 552(f)(1).



                                          5
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 6 of 26



                             FACTUAL ALLEGATIONS

The Department of Education’s authority to garnish wages

      18.    Title IV of the Higher Education Act of 1965 (as amended) (“HEA”), 20

U.S.C. § 1070 et seq., governs the administration of the federal student loan

program.

      19.    As part of its management of the federal student loan program, the

Department possesses extensive extrajudicial collection powers, including the

authority to garnish federal student loan borrowers’ wages without a court order

following default on their student loans. The HEA and the Debt Collection

Improvement Act (“DCIA”) authorize this practice. See HEA § 488A, 20 U.S.C.

§ 1095a; 31 U.S.C. § 3720D.

      20.    The Department reported that, in fiscal year 2018 alone, it garnished

over $840 million from borrowers with federal Direct Loans. See Office of Fed.

Student Aid, “Default Rates,” https://studentaid.gov/data-center/student/default

(select “FY18 Q1-Q4” under “Default Recoveries by Private Collection Agency” and

hit “GO”) (last visited Apr. 27, 2020).

      21.    When a borrower’s delinquency qualifies for garnishment, the

Department will issue a garnishment order directly to the borrower’s employer. 34

C.F.R. § 34.18. The Secretary has the right to take legal action against an employer

in order to enforce that order. 20 U.S.C. § 1095a(a)(6); 34 C.F.R. § 34.29.

      22.    The Department’s regulations provide that the amount that can be

garnished is the lesser of fifteen percent of a borrower’s disposable income or the

amount exceeding thirty times the prevailing minimum wage. 34 C.F.R. § 34.19(b).

                                           6
         Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 7 of 26



       23.    Once issued, a garnishment order remains in effect until the Secretary

rescinds the order or the debt is paid in full, including interest, penalties, and

collection costs. Id. § 34.26.

       24.    At any time, the Department “may compromise or suspend collection

by garnishment of a debt in accordance with applicable law.” Id. § 34.2(c).

       25.    Where the Department’s wage garnishment is “barred by law at the

time of the collection action,” the Department must “promptly refund any amount

collected by means of this garnishment.” Id. § 34.28(a). Unless required by federal

law, the Department will not pay interest on a refund. Id. § 34.28(b).

The CARES Act requires immediate suspension of wage garnishment and
notice of the suspension to borrowers.

       26.    On March 13, 2020, President Trump declared a national emergency

due to the COVID-19 pandemic.

       27.    On March 25, 2020, the Department announced that, due to the

national emergency, it would “halt collection actions and wage garnishments to

provide additional assistance to borrowers. This flexibility will last for a period of at

least 60 days from March 13, 2020.” See Press Release, U.S. Dep’t of Educ.,

“Secretary DeVos Directs FSA to Stop Wage Garnishment, Collections Actions for

Student Loan Borrowers, Will Refund More Than $1.8 Billion to Students,

Families” (Mar. 25, 2020), available at: https://www.ed.gov/news/press-

releases/secretary-devos-directs-fsa-stop-wage-garnishment-collections-actions-

student-loan-borrowers-will-refund-more-18-billion-students-families.




                                            7
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 8 of 26



      28.    On March 27, 2020, after passing by a vote of 96–0 in the United

States Senate, and by a voice vote in the United States House of Representatives,

President Trump signed the CARES Act into law. See Pub. L. No. 116–136, ___ Stat.

___ (2020). The purpose of the CARES Act is to “[p]rovid[e] emergency assistance

and health care response for individuals, families[,] and businesses affected by the

2020 coronavirus pandemic.” Id.

      29.    Prior to and after its passage, legislators from both parties came

together to emphasize that the relief provided under the Act must be provided

immediately. For example, Senator McConnell explained that the CARES Act “puts

urgently-needed cash in the hands of American workers and families. . . . That is

what we have to do: Inject a significant amount of money as quickly as possible into

households, small businesses, key sectors, and our nation’s hospitals and health

centers. This bill would do just that—and do it fast.” Press Release, Sen. Mitch

McConnell, “This is Not a Political Opportunity. It is a National Emergency” (Mar.

22, 2020), available at:

https://www.mcconnell.senate.gov/public/index.cfm/pressreleases?ContentRecord_id

=16D7E2DB-8860-4B80-A9F3-6E6858BF625D. See also 166 Cong. Rec. S1977 (Mar.

24, 2020) (statement of Sen. John Thune) (“[The CARES Act is filled with resources

to help struggling families, provide relief to workers, and enable businesses to

retain their employees during this crisis. Americans need this bill today, not

tomorrow, [and] not next week[.]”); Press Release, Sen. Chuck Grassley (Mar. 25,

2020), available at: https://www.grassley.senate.gov/news/news-releases/grassley-



                                          8
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 9 of 26



releases-phase-3-coronavirus-response-legislation (“The economic and public health

crisis we are experiencing as a country is an emergency and Congress must respond

in kind. Congress must pass this legislation immediately.”).

      30.    In an effort to protect financially vulnerable borrowers from mounting

financial burdens during the COVID-19 crisis, section 3513(e) of the CARES Act

requires the Secretary to suspend, until September 30, 2020, all involuntary

collections of defaulted Direct Loans and Federal Family Education Loans

(“FFEL”)1 owned by the Department. The Act specifically and explicitly includes

suspension of wage garnishment:

             (a) IN GENERAL. —The Secretary shall suspend all
             payments due for loans made under part D and part B
             (that are held by the Department of Education) of title IV
             of the Higher Education Act of 1965 (20 U.S.C. 1087a et
             seq.; 1071 et seq.) through September 30, 2020.
             ...


1      Direct and FFEL loans are two types of federal student loans. As part of the
HEA, Congress established the FFEL loan program in which commercial lenders
loaned money to students and their families under favorable terms, which were
then guaranteed by guaranty agencies and reinsured by the United States
government. See generally 20 U.S.C. § 1078(a)–(c). Effective in 2010, Congress
ceased the origination of new FFEL loans and transitioned entirely to a Direct Loan
program wherein the United States serves as the lender and contracts with non-
governmental entities to service loans the Department issues. 20 U.S.C. § 1071(d);
see also Health Care & Educ. Reconciliation Act of 2010, Pub. L. No. 111–152,
§ 2201 et seq., 124 Stat. 1029, 1074 (2010). Although borrowers are still repaying
FFEL loans, no new FFEL loans have been issued since June 30, 2010. In addition,
in 2008, Congress—through the Ensuring Continued Access to Student Loan Act
(“ECASLA”), Pub. L. No. 110–227—authorized the Department to purchase FFEL
loans from commercial lenders for a limited period of time. That period was
subsequently extended. Many of those loans are still owned by the Department
today. The Department’s statutory wage garnishment authority applies to loans
“held” by the Secretary, regardless of whether they are Department-owned FFEL
loans or Direct Loans. HEA § 488A, 20 U.S.C. § 1095a(a).

                                         9
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 10 of 26



             (e) SUSPENDING INVOLUNTARY COLLECTION.—
             During the period in which the Secretary suspends
             payments on a loan under subsection (a), the Secretary
             shall suspend all involuntary collection related to the
             loan, including—(1) a wage garnishment authorized
             under section 488A of the Higher Education Act of 1965
             (20 U.S.C. 1095a) or section 3720D of title 31, United
             States Code.

      31.    With this provision, Congress immediately suspended wage

garnishments for a six-month period (more than the sixty days previously

announced by the Department) so that struggling student loan borrowers would

have more income to put food on the table and pay their rent and medical bills

during the crisis.

      32.    The CARES Act also requires the Department to provide notice to

borrowers of the actions taken suspending wage garnishment on or before April 10,

2020. Section 3513(g)(1)(B) provides that the Secretary shall “not later than 15 days

after the date of enactment of this Act, notify borrowers—. . . . (B) of the actions

taken in accordance with subsection (e) for whom collections have been suspended.”

      33.    Following passage of the CARES Act, Secretary DeVos stated the

following at the White House coronavirus task force press briefing:

      Mr. President, you have promised to defeat this invisible enemy and to
      keep our economy strong. You took immediate action and provided
      student loan relief to tens of millions of borrowers. We set all federally
      held student loans to zero percent interest rates and deferred
      payments for 60 days. Now with the CARES Act, that you signed into
      law, Mr. President, those actions will extend to 6 months.

      Those who are, or become, delinquent on their payments as a result of
      the National Emergency will receive an automatic suspension of
      payments, without having to request it. Additionally, we’ve stopped
      federal wage garnishments altogether for students and families

                                           10
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 11 of 26



      in default. And I have asked private collection agencies that contract
      with the Department to stop all collections correspondence including
      phone calls, letters, and emails.

      We hope these actions will help alleviate the financial burden and
      anxiety students and their families are feeling during these tough
      times.

See Press Release, U.S. Dep’t of Educ., “Remarks by Secretary DeVos at the White

House Coronavirus Task Force Press Briefing” (Mar. 27, 2020) (emphasis added),

available at: https://www.ed.gov/news/speeches/remarks-secretary-devos-white-

house-coronavirus-task-force-press-briefing.

      34.    On or around April 1, 2020, the Department placed the following

guidance to borrowers on its website:

      UPDATED: On March 25, 2020, ED announced that my wages would
      not be garnished, but money is still being taken from my paycheck.
      What should I do?

      Your human resources department will receive a letter from ED instructing
      them to stop your wage garnishment. If ED receives funds from a
      garnishment between March 13, 2020, and Sept. 30, 2020, we will refund
      your garnished wages.

See U.S. Dep’t of Educ., “Coronavirus and Forbearance Info for Students, Borrowers, and

Parents,” https://studentaid.gov/announcements-events/coronavirus (last visited Apr.

27, 2020).

      35.    Because the Department’s guidance states that borrowers’ wages may

continue to be taken and that they should expect to receive refunds at some

uncertain date in the future, it contradicts the CARES Act’s directive to

immediately suspend involuntary collections.




                                           11
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 12 of 26



      36.    On or around April 9, 2020, the Department sent a notice to borrowers

with the following heading in bold: “We have temporarily . . . stopped

collection activity on your defaulted federally owned student loans.” The

notice explained that “we are contacting you to explain how [the CARES Act] affects

your defaulted federally owned student aid debt.” In bold again, it then states:

      We’ve taken the following actions on your defaulted federally
      owned loans and/or grant overpayment debts: . . . .

             Stopped Collections—We stopped all collection activity on the
             federal student aid debt for the period March 13, 2020, through
             Sept. 30 2020.

             During this period you will not . . . have your wages garnished
             (taken from your paycheck).

      37.    In a section titled “WHAT YOU NEED TO DO,” the notice states:

“Keep this notification for your records. We’ll communicate with you in August to

help prepare you for Sept. 30 2020, when the . . . stopped collections period ends.

There’s no action you need to take at this time.”

The Department’s failure to implement the CARES Act

      38.    Despite these statements—including the notice to borrowers that their

wage garnishment was suspended and there was no further action they needed to

take—the Department continues to illegally garnish wages of borrowers in violation

of the CARES Act.

      39.    On information and belief, the Department still has not ensured that

all affected employers have received instructions to stop garnishing the pay of their

employees with defaulted federal student loans.



                                          12
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 13 of 26



      40.    According to the Washington Post, as of April 21, 2020, the

Department had “yet to send letters requesting that employers stop garnishing the

pay of student loan borrowers in default.” See Danielle Douglas-Gabriel, “The

Education Department is dragging its feet on stopping wage garnishment for

student loan borrowers,” Washington Post (Apr. 21, 2020), available at:

https://www.washingtonpost.com/education/2020/04/21/wage-garnish-student-loans-

education-department/.

      41.    In fact, the Department reportedly attempted to send emails to

employers regarding suspension of wage garnishment but is aware that most of

those emails were never opened. Id.

      42.    On May 1, 2020, the Department conceded in a separate litigation

that at least twelve borrowers who attended Corinthian Colleges were still

experiencing wage garnishment, despite a federal court order issued in May of 2018

requiring an end to that practice for a specific cohort of student loan borrowers. See

Manriquez et al. v. DeVos, No. 17-cv-07210-SK, Dkt. 215 at 8-9 (N.D. Cal, U.S. Dep’t

of Education, Office of Federal Student Aid, Seventh Monthly Compliance Report

filed May 1, 2020).

      43.    The CARES Act did not provide the Department with a grace period in

which to provide this temporary six-month relief. To the contrary—as indicated by

the requirement in Section 3513(g)(1)(B) that the Secretary provide notice to

borrowers by April 10, 2020 that wage garnishments were suspended—timely

action is essential to delivering the relief Congress mandated.



                                          13
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 14 of 26



      44.    Irrespective of steps that the Department may have taken to cease

garnishing wages of some student loan borrowers, it nevertheless has not stopped

the practice altogether and is therefore out of compliance with the CARES Act.

      45.    The Department has also not provided Named Plaintiffs or the class

with refunds of the amount garnished in violation of the CARES Act.

Harm to Named Plaintiffs and the Putative Class

      46.    The Department’s illegal wage garnishments are causing material and

immediate harm to Named Plaintiffs and the proposed class, as well as thwarting

the purpose of the CARES Act to provide fast, direct relief to student loan borrowers

during the current national emergency.

      47.    If the Department provides full refunds to borrowers months or even

weeks into the future, many borrowers will still experience irreparable harm.

Section 3513 of the CARES Act is designed to provide immediate relief to struggling

borrowers for life necessities such as food, rent, and bills. A refund many weeks or

months after the garnishment takes place cannot erase hardship suffered in the

present.

      Elizabeth Barber

      48.    In 2010, Plaintiff Elizabeth Barber attended Nazareth College, where

she studied psychology. Ms. Barber took out federally held student loans to attend

the program. She currently owes approximately $10,000 on those loans.

      49.    Ms. Barber is currently employed as a home health aide at Companion

Care of Rochester, Inc., a home care services agency for older adults and individuals



                                         14
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 15 of 26



with disabilities. Ms. Barber has continued to provide home health care throughout

the COVID-19 crisis.

      50.    Ms. Barber earns $12.89 per hour. In 2019, she earned approximately

$20,000 in total. The money that Ms. Barber earns as a home health aide is her sole

source of income.

      51.    At work, Ms. Barber primarily looks after clients with cerebral palsy.

Her work requires her to be in constant close contact with her clients, including to

shower, feed, dress, and help them go to the bathroom. Ms. Barber often needs to

clean her clients’ catheters and change their diapers. In addition, she cooks, cleans,

helps with laundry, shops for groceries and household supplies, plays games, and

takes her clients outside.

      52.    Ms. Barber fears bringing the virus into her clients’ homes, especially

those whose medical conditions place them at heightened risk of severe symptoms if

they catch the virus.

      53.    Due to the decrease in demand for her services during the COVID-19

pandemic, Ms. Barber’s hours have been reduced by approximately ten to fifteen

hours per week, increasing her financial strain.

      54.    As Ms. Barber continues to assist clients in need, the Department—in

violation of the CARES Act—continued to garnish approximately twelve percent of

her paychecks in March and April 2020.




                                          15
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 16 of 26



      55.    In her paystub dated April 10, 2020 (for the period from March 20,

2020 through April 4, 2020), $52.10 was garnished. Ms. Barber’s April 10, 2020

paystub shows that $789.57 had been garnished during the 2020 calendar year.

      56.    In her paystub dated April 17, 2020 (for the period from April 5, 2020

through April 11, 2020), $43.43 was garnished.

      57.    In her paystub dated April 24, 2020 (for the period from April 12, 2020

through April 18, 2020), $70.20 was garnished. Ms. Barber’s April 24, 2020 paystub

shows that $903.20 had been garnished during the 2020 calendar year.

      58.    Ms. Barber’s paycheck for May 1, 2020 does not show any additional

amounts garnished.

      59.    Ms. Barber has not received a refund of any wages garnished since

March 13, 2020.

      60.    Ms. Barber is struggling to make ends meet, so every dollar counts as

she tries to meet her immediate needs.

      61.    Ms. Barber often has to leave bills unpaid in order to cover her basic

needs. She has no money in her checking or savings accounts, is in arrears on

various local taxes, and is subject to a lien on her home. She is also past due on both

her water and electric bills, which she cannot afford to pay in full each month.

      62.    As her past due amounts continue to grow, the decrease in hours due

to COVID-19 has magnified Ms. Barber’s financial struggles.




                                          16
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 17 of 26



      63.    The funds that the Department has illegally garnished are essential to

Ms. Barber’s ability to satisfy her essential financial obligations during the

pandemic.

      Craigory Lee A. Jenkins

      64.    Between 2012 and 2014, Plaintiff Craigory Lee A. Jenkins attended

Ohio State University, where she studied secondary English education.

      65.    Ms. Jenkins earns $17.58 per hour. In 2019, she earned approximately

$29,000 in total. The money that Ms. Jenkins earns working for Lowe’s is her sole

source of income.

      66.    On or around February 24, 2020, Ms. Jenkins’ employer received a

Wage Garnishment Order, dated February 12, 2020, stating that Ms. Jenkins owed

over $65,000 on her federal student loans. The Wage Garnishment Order directed

her employer to deduct an amount for each pay period and to remit that amount to

“Central Research,” which is a private debt collection agency that contracts with the

Department and, as such, is an agent of the Department.

      67.    The Wage Garnishment Order instructed her employer to continue to

garnish wages in compliance with the order “until [the employer] receive[s]

notification from the [Department] to suspend or discontinue deductions.”

      68.    Beginning in March 2020 and continuing to the present, the

Department has garnished approximately 15 percent of the wages from Ms.

Jenkins’s paychecks. In her paystub dated March 27 2020 (for the period from

March 7, 2020 through March 20, 2020), $235.17 was garnished. Ms. Jenkins’s



                                          17
       Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 18 of 26



March 27, 2020 paystub shows that $439.12 had been garnished during the 2020

calendar year.

      69.    In her paystub dated April 10, 2020 (for the period from March 21,

2020 through April 3, 2020), $228.65 was garnished. Ms. Jenkins’s April 10, 2020

paystub shows that $667.77 had been garnished during the 2020 calendar year.

      70.    In her paystub dated April 24, 2020 (for the period from April 4, 2020

through April 17, 2020), $276.25 was garnished. Ms. Jenkins’s April 24, 2020

paystub shows that $944.02 had been garnished during the 2020 calendar year.

      71.    Ms. Jenkins has received a copy of her paystub dated May 8, 2020—

i.e., one day after the filing of this Amended Class Action Complaint for Declaratory

and Injunctive Relief. The May 8, 2020 paystub (for the period from April 18, 2020

through May 1, 2020) shows that $204.16 was garnished. The May 8, 2020 paystub

shows that $1,148.18 had been garnished during the 2020 calendar year.

      72.    In total and to date, $944.23 has been garnished from Ms. Jenkins’s

paychecks issued since the CARES Act became law on March 27, and $1,148.18 has

been garnished since March 13, the date from which the Department has committed

to providing refunds.

      73.    Ms. Jenkins has not received a refund of any garnished wages.

      74.    On May 6, 2020, Lowe’s informed Ms. Jenkins that it could not

suspend garnishment of her wages because it had not received a letter from the

Department instructing it to do so.




                                         18
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 19 of 26



      75.    Ms. Jenkins’s customer base has declined dramatically during COVID-

19 pandemic as people are delaying kitchen remodels and, for health reasons, are

unwilling to bring strangers into their home for cabinet installation.

      76.    Due to the decrease in her customer base, Ms. Jenkins no longer has

the opportunity or ability to earn sales performance bonuses. Prior to and at the

beginning of the pandemic, Lowe’s provided bonuses for sales on custom cabinets

over a certain amount. Lowe’s has since stopped offering those bonuses.

      77.    Even if the sales bonuses were still available, the decline in Ms.

Jenkins’s customer base would make them impossible to earn.

      78.    In normal circumstances, Ms. Jenkins relies on public transportation

to commute to and from work. Because of the COVID-19 pandemic, public

transportation has become less frequent and less reliable, so she has been forced to

spend additional money on rideshare services like Uber to get to work.

      79.    Ms. Jenkins is struggling to make ends meet, so every dollar counts as

she tries to meet her immediate needs.

      80.    Ms. Jenkins has to leave bills unpaid in order to cover her basic

expenses. She has no money in her checking or savings accounts, is past due on both

her water and electric bills, and she is past due on this month’s rent.

      81.    She is using the $986 from her May 8 paycheck to pay her overdue

rent, which totals $1,650. To cover the difference, she has to borrow money from a

friend. Until her next paycheck in two weeks, Ms. Jenkins will have no money in




                                          19
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 20 of 26



her checking account. For food, she will have to scrape by with what she currently

has in her pantry.

      82.    As her past due amounts continue to grow, the decrease in her income

due to COVID-19 has magnified her financial struggles.

      83.    The funds that the Department has illegally garnished are necessary

to Ms. Jenkins’s ability to satisfy her essential financial and life obligations during

the pandemic.

                         CLASS ACTION ALLEGATIONS

      84.    Named Plaintiffs file this class action on behalf of themselves and all

other individuals who are similarly situated. They seek to represent a class

consisting of:

      All borrowers of Department issued and/or held student loans whose wages
      are being garnished by the Department or have been garnished by the
      Department since March 27, 2020, and whose wages garnished during that
      time period have not been fully refunded.

      85.    The proposed class satisfies the requirements of Rule 23(a) and (b)(2)

of the Federal Rules of Civil Procedure.

      86.    The class is so numerous that joinder of all members is impracticable.

The Department estimates that approximately 285,000 people had their wages

garnished between March 13 and March 26, 2020. See Danielle Douglas-Gabriel,

supra ¶ 40. On information and belief, many of these borrowers continue to have

their wages garnished in violation of the CARES Act and have not had their

illegally garnished wages refunded.




                                           20
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 21 of 26



      87.      The exact number of class members can be readily determined using

the Department’s records.

      88.      The nature of relief sought, as well as questions of fact and law, are

common to all members of the class.

      89.      The Department’s failure to suspend wage garnishments and provide

refunds is identical for the entire class, all of whom have had their wages illegally

garnished after the CARES Act became law.2 The Department’s challenged actions

therefore apply generally to the class, making declaratory relief regarding those

decisions appropriate for the class as a whole.

      90.      The common questions of law and fact also predominate over any

questions affecting individual members. The common questions of law and fact

include, but are not limited to, whether the Department’s failure to suspend wage

garnishment as required by the CARES Act violates the Administrative Procedure

Act (“APA”).

      91.      Named Plaintiffs’ claims are typical of the claims of other class

members, as they arise out of the same course of conduct and legal theories and

challenge the Department’s conduct with respect to the class as a whole.

      92.      Named Plaintiffs are capable of and committed to fairly and

adequately protecting the interests of the class and have no conflicts with other

class members.



2
      Although the CARES Act became law on March 27, 2020, the Department
has committed to refunding all wage garnishments since March 13, 2020 (the date
President Trump declared a national emergency). See supra ¶ 34.

                                            21
          Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 22 of 26



         93.   Named Plaintiffs are represented by counsel experienced in higher

education law, administrative law, and class action litigation.

         94.   A class action is superior for the fair and efficient adjudication of this

matter. The Department has acted in the same unlawful manner with respect to all

class members. A legal ruling concerning the unlawfulness of the Department’s

actions under the APA would vindicate the rights of every class member. Finally, a

class action would serve the economies of time, effort, and expense while preventing

inconsistent results.

                                  CAUSE OF ACTION

                                COUNT ONE
Violation of the APA, 5 U.S.C. § 706(1) for Garnishing Wages in Violation of
                               the CARES Act

         95.   Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

         96.   The garnishments of wages after March 27, 2020 constitute “final

agency action[s] for which there is no other adequate remedy in court.” 5 U.S.C.

§ 704.

         97.   Under the APA, a “reviewing court shall . . . compel agency action

unlawfully withheld or unreasonably delayed.” Id. § 706(1).

         98.   Section 3513(e) of the CARES Act requires the Secretary to suspend,

until September 30, 2020, all involuntary collection—including wage garnishment—

of defaulted Direct and FFEL loans currently held by the Department.

         99.   By garnishing the wages of Named Plaintiffs and the class following

the March 27 enactment of the CARES Act, the Department has unlawfully

                                            22
          Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 23 of 26



withheld its legal obligation to suspend administrative wage garnishments between

March 27, 2020, and September 30, 2020, as required by Section 3513(e) of the

CARES Act.

                                COUNT TWO
Violation of the APA, 5 U.S.C. § 706(2)(A) for Garnishing Wages in Violation
                             of the CARES Act

         100.   Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

         101.   The garnishments of wages after March 27, 2020, constitute “final

agency action[s] for which there is no other adequate remedy in court.” 5 U.S.C.

§ 704.

         102.   Under the APA, a “reviewing court shall . . . hold unlawful and set

aside agency action . . . found to be . . . arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law.” Id. § 706(2)(A).

         103.   Section 3513(e) of the CARES Act requires the Secretary to suspend,

until September 30, 2020, all involuntary collection—including wage garnishment—

of defaulted Direct and FFEL loans currently held by the Department.

         104.   By garnishing the wages of Named Plaintiffs and the class following

the March 27 enactment of the CARES Act, the Department has violated Section

3513(e) of the CARES Act and has failed to act in accordance with law.

         105.   By failing to stop employers from garnishing the wages of Named

Plaintiffs and the class following the enactment of the CARES Act, the Department

has violated Section 3513(e) of the CARES Act and has failed to act in accordance

with law.
                                            23
          Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 24 of 26



                               COUNT THREE
Violation of the APA, 5 U.S.C. § 706(2)(C) for Garnishing Wages in Violation
                             of the CARES Act

         106.   Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

         107.   The garnishments of wages after March 27, 2020, constitute “final

agency action[s] for which there is no other adequate remedy in court.” 5 U.S.C.

§ 704.

         108.   Under the APA, a “reviewing court shall . . . hold unlawful and set

aside agency action . . . found to be . . . in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right.” Id. § 706(2)(C).

         109.   Section 3513(e) of the CARES Act requires the Secretary to suspend,

until September 30, 2020, all involuntary collection—including wage garnishment—

of defaulted Direct and FFEL loans currently held by the Department.

         110.   By garnishing the wages of Named Plaintiffs and the class following

the March 27 enactment of the CARES Act, the Department has violated Section

3513(e) of the CARES Act and has acted in excess of its statutory jurisdiction or

authority.

         111.   By failing to stop employers from garnishing the wages of Named

Plaintiffs and the class following the enactment of the CARES Act, the Department

has violated Section 3513(e) of the CARES Act and has acted in excess of its

statutory jurisdiction or authority.

                               REQUEST FOR RELIEF

WHEREFORE, Plaintiffs request that this Court:

                                            24
        Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 25 of 26



      1.     Certify the class defined in paragraph 84 pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

      2.     Enter a declaratory judgment, pursuant to 28 U.S.C. § 2201, that the

Department unlawfully withheld its legal obligation to suspend wage garnishment

as required by the CARES Act and/or that its failure to suspend wage garnishment

is not in accordance with law and/or in excess of statutory jurisdiction or authority;

      3.     Further declare that the Department’s wage garnishments on or after

the March 27, 2020, effective date of the CARES Act are not legally enforceable;

      4.     Further declare that Defendants, their officers, their employees,

contractors, and/or their agents must, consistent with the CARES Act, immediately

suspend all administrative wage garnishments for Named Plaintiffs and the class;

      5.     Further declare that Defendants, their officers, their employees,

contractors, and/or their agents must, consistent with the CARES Act, provide

immediate notice of the suspension of wage garnishment to Named Plaintiffs and

the class when that suspension has actually happened;

      6.     Order the Department to certify to the Court when it suspends

garnishments and provides notices thereof to class members;

      7.     Order ancillary relief, under 28 U.S.C. § 2202, including an immediate

refund of all amounts illegally garnished;

      8.     Award Plaintiffs reasonable fees, costs, expenses, and other

disbursements for this action; and




                                          25
         Case 1:20-cv-01137-CJN Document 9 Filed 05/07/20 Page 26 of 26



     9.      Grant any other relief this Court deems just and proper.


                                      /s/Alexander S. Elson
                                      Daniel A. Zibel (D.C. Bar No. 491377)
                                      Eric Rothschild (D.C. Bar No. 1048877)
                                      Alexander S. Elson (D.C. Bar No. 1602459)
                                      National Student Legal Defense Network
                                      1015 15th Street NW, Suite 600
                                      Washington, DC 20005
                                      (202) 734-7495
                                      dan@defendstudents.org
                                      eric@defendstudents.org
                                      alex@defendstudents.org


                                      Stuart T. Rossman* (BBO No. 430640)
                                      Persis Yu* (BBO No. 685951)
                                      National Consumer Law Center
                                      7 Winthrop Square, Fourth Floor
                                      Boston, MA 02110
                                      P: (617) 542-8010
                                      srossman@nclc.org
                                      pyu@nclc.org

                                      Counsel for Plaintiffs

                                      *Admitted pro hac vice

Dated:       May 7, 2020




                                        26
